*y - Case 1:19-cv-24184-MGC Document 21 Entered on FLSD Docket'01/17/2020 Page 1 of 9

Plaintiff JAMES BUCKMAN, etal | | SBOE ELA Mian

 

FILED BY__J45_D.C.

UNITED STATES SOUTHERN DISTRICT OF FLORIDA JAN 16 2020 Z.

~ ANGELA E. NOBLE
CLERK U.S, DIST. CT.

 

 

 

V. _ Case No. 1:19-cv-24184-MGC

_.Defendant Deutsche Bank National Trust Company, et al

MOTION TO RECONSIDER & OBJECTION TO MAGISTRATE

NOW COMES PLAINTIFFS hereby objects to the referral to Magistrate and

moves the court to reconsider Deutsche Bank time extension to answer.

1.

DATED this 15th day of January in the year A.D. 2020, i

   

s/JAMHS BUCKMAN-PI ntiff

The Original Complaint and Clerk issued Summons were timely served on

11/18/19.

The Amended Complaint & Summons were served on 12/6/19. Exh. De, olay te
Daniel Hurtes was notified by the Clerk of this Court to answer on,12/20/19.

Daniel Hurtes did not answer until 12/23/19 which is 3 days late providing
unfair advantages to opposing parties.

Judge of record Marcia Cooke has now referred this action to Magistrate
Jonathan Goodman on 1/8/20.

. Judges Cooke & Goodman both ha'e financial dealings with Defendant

Deutsche Bank and their representative agents as discovered by AO-10
Financial Records requests(Exhibits Attached). Ey). C

WHEREFORE, Plaintiff moves this Court to Reconsider Deutsche Bank time
extension for just causes and factual reasons stated herein. .

 

1977 NE 119" Road Miami FL 33181
CAoini ROvIOA TRéqit Gor Hnanciet ditlosize teperton YahSD Maitket 01/17/2020 Page Rage $ of 1

 

Form AO-10A Request for financial disclosure reports bigboss1043@yah..,/Inbox
Committee Financial Disc Rele <committee on_financial_disclosure_-_release_and_redaction_-_subc@a Jan 13 at 9:11 AM
c.uscourts.gov> of

 

To: bigboss1043@yahoo.com <bigbossi043@yahao,com>

Good Morning, Mr. Maurice Symonette.

We are in receipt of your AO-10A Request for Examination of Report Filed by Judicial Officer.or Fudicial Employee for Kathleen Williams, Marcia G.
Cooke, and Angeia Nobie.

Please note, in accordance with section 105(d) of the Ethics in Government Act of 1978, this office only maintains financial disclosure reports for six
calendar years. The calendar year 2019 reports are not due until May 15, 2(20, and have not been received. Therefore no 2019 reports are available.

Angela Noble is not a filer with this office. We will process your request to provide the 2013-2018 financial disclosure reports for Judge Kathicen
Williams and Judge Marcia G. Cooke.
Ms. Amy L. Brow

‘ Administrative Office of the US Courts
(202) 502-1850

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& 46kKB

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Case 1:19-cv-24184-MGC Document9 Entered on FLSD Docket 12/23/2019 Page 1 of 3
co RETURN OF SERVICE h | \

UNITED STATES DISTRICT COURT
District of Florida

 

Case Number: 19-CV-24184MGC
~ Plalntif:

Sm a

DEUTSCHE BANK NATIONAL TRUST COMPANY -

Foe a ;

Micahiel Nicholson .

Received by 24 Hour Process LLC on-the 4th day of December, 2049 at 11:33 pm to be served on DEUTSCHE BANK NATIONAL TRUST COMPANY

AS TRUSTEE UNDER THE POOLING AND SERVICING AGREEMENT SERILS RAST 2006-A8, 1761 EAST 8ST. ANDREW PLACE, SANTA ANA,
CA92705, oo cS

 

', Nicole Lopez, do hereby affirm that on the éth day of Decamber, 2019 at 4:10 pm, k
" perved an AUTHORIZED entity by delivering’a trie copy of the SUMMONS INA CIVIL ACTION, COMPLAINT FOR: 1, QUIET TITLE 2. SLANDER OF

ILE 3, BANK VIOLATED 30 DAY NOTICE T.0 SALE NOTE IN VIOLATION OF FLORIDA STAT, 559.715 4 UNJLST ENRICHMENT 5, VIOLATION
OF RESPA 12 U.S.C. 2605 6. VIOLATION FL. STAT. 697.10 NO CONTRACT 7. FRAUD & CONCEALMENT 8. VIOLATION OF FLORIDA STAT;

BANK NO CONSIDERATION MONEY MUST BE GIVEN TO ASSIGN NOT 11. ELEVENTH CAUSE OF ACTION VIOLATION GAAP FASB FAS 140
RULE AS GOVERNED BY. THE SEC AND THE US DEPARTMENT OF THE TREASURY/ (IRS), AMENDED COMPLAINT VERIFIED PETITION, FoR —
DECLARATORY RELIEF AND JUDGMENT AND INJUNCTIVE RELIEF AGAINST DEFENDANT DEUTSCHE BANI.NA. TRUST TO.QUIET TITLE

' PURSUANT TO FLORIDA STATUTES CHAPTER 65; AND MOTION FOR TEMPORARY RESTRAINING ORDER AND MEMORANDUM OF POINTS
AND AUTHORITIES IN SUPPORT THEREOF AND EXHIBITS "A-Z” with the date end hour of service endorsed therean by me, to: SUZANNE PATTONS -
a8 ADMINISTRATIVE ASSISTANT at thé addregs of: 1761 EAST ST, ANDREW PLACE, SANTA ANA, CA 92705, who stated they are authorized to atcep!
service for DEUTSCHE BANK NATIONAL TRUST COMPANY, and informed sald pe-son of the contents therein, in compltance with stata statutes.

 

Description of Person Served: Age: 45, Sex: F, Race/Skin Color WHITE, Height: 5°3, Weight: 135, Hair: BROWN, Glasses: Y

"Poder penaities of perury, I dectere thet | have reed the foregoing and thet the facts stator init are true. | certify that Iam aver the age of 18, have no
tern the above action, and am a Certified Process Server, in good standing, in the county in which service was effected in acocdsnee wih Stave

        

‘ |
: . Nicole Lopez Se if) ( /)
‘ . . Process Server “
. Boe wey . 24 Hour Process LLC
Sulte 300 - :
West Paim Beach, FL 33413

(561) 708.2378

Our Job Serial Number: JEG-2019001628
Ref: DEUTSCHE BANK NATIONAL TRUST COMPANY

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Case 1:19-cv-24184-MGC Document9 Entered on FLSD Docket 12/23/2019 Page 2 of 3

12/23/2019 Yahoo Mail - JEG Job Done - Served for DEUTSCHE BANK NATIONAL TRUST COMPANY (DEUTSCHE BANK NATIONAL T RUST COMPA...
4

 

JEG Job Done - Served for DEUTSCHE BANK NATIONAL TRUST COMPANY (DEUTSCHE A
BANK NATIONAL TRUST COMPANY)

From: 24 Hour Process LLC (service@24hourprocess.com)
To: —_ micahieinicholson@yahoo.com

Cc: — service@24hourprocess.com

Date: Sunday, December 15, 2019, 03:04 PM EST

Ta: Micahiel Nicholson

This is an automated message relating to:

 

Our Job Number: 2019001628

Your Reference Number: DEUTSCHE BANK NATIONAL TRUST COMPANY

Party To Be Served: DEUTSCHE BANK NATIONAL TRUST COMPANY

Documents To Be Served: SUMMONS IN A CIVIL ACTION, COMPLAIN] FOR: 1. QUIET TITLE 2. SLANDER OF TITLE 3.
BANK VIOLATED 30 DAY NOTICE TO SALE NOTE iN VIOLATION OF FLORIDA STAT. 559.715 4. UNJUST ENRICHMENT 5.
VIOLATION OF RESPA 12 U.S.C. 2605 6. VIOLATION FL. STAT. 697.10 NO CONTRACT 7. FRAUD & CONCEALMENT 8.
VIGLATION OF FLORIDA STAT, 45.031(8) PROPERTY SOLD AT FORECLOSURE PRICE SO LOW THAT IT SHOCKS THE
CONSCIENCE 9, VIOLATION OF TIMELY ASSIGNMENT 10. BANK NO CONSIDERATION MONEY MUST BE GIVEN TO ASSIGN
NOT 11. ELEVENTH CAUSE OF ACTION VIOLATION GAAP FASB FAS 140 RULE AS GOVERNED BY THE SEC AND THE US
DEPARTMENT OF THE TREASURY/ (IRS), AMENDED COMPLAINT VERIFIED PETITION FOR DECLARATORY RELIEF AND
JUDGMENT AND INJUNCTIVE RELIEF AGAINST DEFENDANT DEUTSCHE BANK N.A. TRUST TO QUIET TITLE PURSUANT TO
FLORIDA STATUTES CHAPTER 65; AND MOTION FOR TEMPORARY RESTRAINING ORDER AND MEMORANDUM OF POINTS
AND AUTHORITIES IN SUPPORT THEREOF AND EXHIBITS "A-Z"

Case Info: Florida 19-CV-24184MGC .

Case Style: JAMES BUCKMAN vs. DEUTSCHE BANK NATIONAL TRUST COMPANY

 

 

Service Information
Recipient was SERVED on Dec 6 2019 4:10PM
Type of Service: AUTHORIZED
’ Original Service Address: DEUTSCHE. BANK NATIONAL TRUST COMPANY AS TRUSTEE UNDER THE POOLING AND
SERVICING AGREEMENT SERIES RAST 2006-A8, 1761 EAST ST. ANDREW PLACE, SANTA ANA, CA 92705

Service Details: served an AUTHORIZED entity by delivering a true copy of the SUMMONS IN A CIVIL ACTION, COMPLAINT
rOR: 1. QUIET TITLE 2. SLANDER OF TITLE 3. BANK VIOLATED 30 DAY NOTICE TO SALE NOTE IN VIOLATION OF FLORIDA
“STAT. 559.715 4. UNJUST ENRICHMENT 5. VIOLATION OF RESPA 12 U.S.C. 2605 6. VIOLATION FL. STAT. 697.10 NO
CONTRACT 7. FRAUD & CONCEALMENT 8. VIOLATION OF FLORIDA STAT. 45.031(8} PROPERTY SOLD AT FORECLOSURE
PRICE SO LOW THAT IT SHOCKS THE CONSCIENCE 9. VIOLATION OF TIMELY ASSIGNMENT 10. BANK NO CONSIDERATION
MONEY MUST BE GIVEN TO ASSIGN NOT 11. ELEVENTH CAUSE OF ACTION VIOLATION GAAP FASB FAS 140 RULE AS
GOVERNED BY THE SEC'AND THE US DEPARTMENT OF THE TREASURY/ (IRS), AMENDED COMPLAINT VERIFIED PETITION
FOR DECLARATORY RELIEF AND JUDGMENT AND INJUNCTIVE RELIEF AGAINST DEFENDANT DEUTSCHE BANK N.A. TRUST
TO QUIET TITLE PURSUANT TO FLORIDA STATUTES CHAPTER 65; AND MOTION FOR TEMPORARY RESTRAINING ORDER
AND MEMORANDUM. OF POINTS AND AUTHORITIES IN SUPPORT THEREOF AND EXHIBITS "A-2" with the date and hour of
service endorsed thereon by me, to: SUZANNE PATTONS as ADMINISTRATIVE ASSISTANT at the address of: 1761 EAST ST.
ANDREW PLACE, SANTA ANA, CA 92 705, who stated they are autinorized to accept service for DEUTSCHE BANK NATIONAL
TRUST COMPANY, and informed said person of the contents therein, in compliance with state statutes.

Attachments:
Link to Invoice Link to DOCS Link to SIGNED ROS

ft

 
 

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Case 1:19-cv-24184-MGC Document 21 . Entered on FLSD Docket 01/17/2 age

Case 1:19-cv-24184-MGC Document9 Entered on FLSD Docket 12/23/2019 Page 3 of 3

12/23/2019 Yahoo Mail - JEG Job Done - Served for DEUTSCHE BANK NATIONAL TRUST COMPANY (DEUTSCHE BANK NATIONAL TRUST COMPA,
Thank you,
24 Hour Process LLC

Service@24hourprocess.com
Phone: (561) 705-2378

More detailed status is available at www.PstProStatus. net

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UNITED STATES DISTRICT COURT FOR THE fr

SOUTHERN DISTRICT OF FLORIDA

JAMES BUCKMAN and
MAURICE SYMONETTE

Plaintiff,
vs.

LANCASTER MORTGAGE
CO.;DEUTSCHE BANK NATIONAL
TRUST CO. AS TRUSTEE UNDER THE
POOLING AND SERVICING
AGREEMENT SERIES RAST 2006-A8

(CSFB), C/O OCWEN ATTN: Vault Dept.

5726 Premier Park Drive, West Palm
Beach, FL.,33407,SECURITY
EXCHANGE COMMISSION (SEC}, U.S.
DEPARTMENT OF THE TREASURY/1.
ERS.

Defendants.

Case No. 19-cv-24

 

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FILED BY__
DEC 04 2019

} ' ANGELA &. NOBLE
184 CLERKU.S. DIST, Cr.
&S. D. OF FLA. - MIAMI

 

: D.C:

 
 

 

 

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_ COMPLAINT FOR:

QUIET TITLE _
SLANDER OF TITLE

BANK VIOLATED 30 DAY NOTICE TO
SALE NOTE IN VIOLATION OF FLORIDA
STAT. 559.715

UNJUST ENRICHMENT
VIOLATION OF RESPA 12 U.S.C 2605

VIOLATION FL. STAT. 697.10 NO
CONTRACT ..

FRAUD & CONCEALMENT

VIOLATON OF FLORIDA STAT.
45.031(8) PROPERTY SOLD AT
FORECLOSURE PRICE SO
LOW THAT IT SHOCKS THE
CONSCIENCE

VIOLATION OF TIMELY
ASSIGNMENT

10. BANK NO CONSIDERATION MONEY

MUST BE GIVEN TO ASSIGNNOT

11. ELEVENTH CAUSE OF ACTION VIOLATION
GAAP FASB FAS 140 RULE AS
GOVERENED BY THE SEC AND THE US
DEPARTMENT OF THE TREASURY/ (IRS)
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Case 4:19-cv-24184

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b,Docket 01/17/2020 PageFoba C.

REQUEST FOR EXAMINATION OF REPORT FILED BY
A JUDICIAL OFFICEK OR JUDICIAL EMPLOYEE

u

In accordance with section 105 of the Ethics in Government Act of 1978, as amended, I request that the report of the ;
following named Judicial Officers or Judicial Employees be sent to me in electronic form. By checking this box, I am requesting
a paper copy rather than an electronic copy [ (See instructions).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NAME _ POSITION - YEAR(S) REQUESTED
KATHLEEN WILLIAMS USDC S.FL Judge 2010-2019
MARCIA G. COOKE USDC S.FL Judge 2010-2019
ANGELA NOBLE USDC S.FL Clerk 2010-2019 -
: NAMES
OF at ~
INDIVIDUALS
WHOSE
DISCLOSURE
REPORTS ; ; ; “ _—
ARE =
REQUESTED pene mmmnecnnnmncnmnannnes ens menmmnmicccinet fest anne arene
ORGANIZATIONS NAME ADDRESS
OR PERSONS - . . . . :
onwHosE Maurice Symonette __ ; _| 15020 S. River Drive Miami FL 33167
BEHALE THIS .
REQUEST eee one ones a we a
IS MADE .
I understand that the statute makes it unlawful to obiain or use this or these reports for: any unlawful purpose: any commercial
purpose other than by news and communication media for dissemination to the general public; determining or establishing of
the credit rating of any individual: or use, directly or indirectly, in the solicitation of money for any political, charitable, or
other purpose (3 U.S.C. App. 4 § 105(c)). .
Lunderstand that whoever, in any manner within the jurisdiction of the executive, legislative, or judicial branch of the
PROUIBITIONS | Government of the United States, knowingly and willfully (1) falsifies, conceals, or covers up by any trick, scheme, or device a
, material fact; (2) makes any materially false fictitious, or fraudulent statement or representation; or (3) makes or uses any false
writing or document, knowing the same to contain any materially false, fictitious, or fraudulent statement or entry, shall be
fined not more than $10,000 or imprisoned not more than five years, or both (18 U.S.C, § 1001).
1am aware of the prohibitions on the obtaining and usc of this information, as are stated above, and that this request for
examination ig a matter of public record.
Name: . Occupation:
Maurice Symonetie
. +Phone Number: Email Address: 4
PERSON (786) 859-9421. | BigBoss1043@yahoo.com
iw Mailing Address:
MAKING =? B Ace fe haters
15020 S. River Drive Miami FL 33167 _ :
eT serif , Y Nari ' 200 °nt 1S s . SC. 6 '
REQUEST I cerlily under penalty off perjury that the foregoing is true and correct. (28 U.S.C. § 1746)
x hes ae
SLE Legit! PAEPD 42/30/2019

 

 

 

 

 

 

 

 

Signature Date executed

 

 

 
Case 1:19-cv-24184-MGC Document 21 Entered on FLSD Docket 01/17/2020 es 8 of 9 DD

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IN THE CIRCUIT COURT OF THE ESEVENTH JUDICIAL
CIRCUIT IN AND FOR MIAMI-DADE COUNTY FLORIDA
CIVIL ACTION

CASES 1F- CV-AY / €Y- MCC
AFFIDAVIT ¢ WEY

I MICAHIEL NICHLOSON WAS ALSO THEIR AS WITNESSES AT
THE MIAMI DADE COURT HOUSE ON THE 11/2019 AT THE
COURT HEARING HELD ON THAT DAY FOR A HEARING FOR
MACK WELLS AND I SAW WHEN MAURICE SYMONETTE
GIVE A COPY OF THE COMPLAINT OF THE CASE TO THE -
ATTORNEY DANIEL S. HURTES, THE ATTORNEY AND BLANK
ROME LLC SO THEY KNEW ABOUT THE COMPLAINT.
CHSEVIC UAW FY 14 CC

~ \

SIGNED |
MICAHIEL NICHLOSON
1977 NE 119™ RD.
Miami, Fla. 33181
Hees

   

, VANESSA BAPTISTE
% Commission #GG 4955
ae My Commission Expires
we June 22, 2020 A

 
   
       
Case 1:19-cv-24184-MGC Document 21 Entered on FLSD Docket 01/17/2020 Pare Pp! 9)

UNITED STATES SouTHtERn DISTRICT OF Fhopvn7

IN THE CIRCUIT COURT OF THE ESEVENTH JUDICIAL CIRCUIT
IN AND FOR MIAMI-DADE COUNTY FLORIDA
CIVIL ACTION

CASES 19-CV-BG Fe MCL
AFFIDAVIT

I JAMES BUCKMAN WAS THEIR AS WITNESSES AT THE
MIAMI DADE COURT HOUSE ON NOV. 1978 2019 AT THE COURT
HEARING HELD ON THAT DAY FOR A HEARING FOR MACK
WELLS AND SAW WHEN MAURICE SYMONETTE GIVEA
COPY OF THE COMPLAINT OF THE CASE TO ATTORNEY
DANIEL 8S. HURTES, THE ATTORNEY AND BLANK ROME LLC

SO THEY KNEW ABOUT THE COMPLAINT.
CAs! £9-L- QIN EYWITCE

SIGNED ube

S BUC
77 NE 119TH
iami, Fla 33181

     

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Orfission # GG 4955
My Cammission Expires f

June 22, 2929

 
